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                                                     UNITED STATES DISTRICT COURT
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                                      NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
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                        APPLE INC., a California corporation,              CASE NO. 11-cv-01846-LHK-PSG
                 12
                                       Plaintiff,
                 13                                                        [PROPOSED] ORDER GRANTING
                               vs.                                         SAMSUNG’S MOTION TO FILE
                 14                                                        DOCUMENTS UNDER SEAL
                    SAMSUNG ELECTRONICS CO., LTD., a
                 15 Korean business entity; SAMSUNG
                    ELECTRONICS AMERICA, INC., a New
                 16 York corporation; SAMSUNG
                    TELECOMMUNICATIONS AMERICA,
                 17 LLC, a Delaware limited liability company,

                 18                    Defendants.
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                                       Samsung Electronics Co. Ltd., Samsung Electronics America, Inc., and Samsung
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                        Telecommunications America, LLC (collectively, “Samsung”) have filed Samsung’s
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                        Administrative Motion to File Documents Under Seal relating to its Response to Apple’s
                 23
                        Supplemental Statement Concerning Samsung’s Motion to Compel.
                 24
                                       Samsung has filed the declaration required under Civil L.R. 79-5 and General
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                        Order No. 62 to provide evidence of good cause for this Court to permit filing under seal.   The
                 26
                        declaration establishes that the below documents contain information that has been designated as
                 27
                        CONFIDENTIAL – ATTORNEY’S EYES ONLY by Apple, or sealed by order of this Court.
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02198.51855/4436913.1                                                                 Case No. 11-cv-01846-LHK
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                                             [PROPOSED] ORDER GRANTING SAMSUNG’S MOTION TO FILE UNDER SEAL
                        Case 5:11-cv-01846-LHK Document 378-2 Filed 11/07/11 Page 2 of 2




                   1          Accordingly, for good cause shown, the Court ORDERS that the following documents

                   2 shall be filed under seal:

                   3             1. The unredacted, confidential version of Samsung’s Response to Apple’s

                   4                 Supplemental Statement Concerning Samsung’s Motion to Compel (“Samsung’s

                   5                 Response”); and

                   6             2. Exhibits A and B to the Declaration of Brett Arnold in Support of Samsung’s

                   7                 Response.

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                   9          IT IS SO ORDERED.
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                 11 DATED:        November _____, 2011

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                 14                                                Hon. Paul S. Grewal
                                                                   United States Magistrate Judge
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02198.51855/4436913.1                                                               Case No. 11-cv-01846-LHK
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                                           [PROPOSED] ORDER GRANTING SAMSUNG’S MOTION TO FILE UNDER SEAL
